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8                           UNITED STATES DISTRICT COURT
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    2:04-cr-205-GEB
12                   Plaintiff,        )
                                       )
13        v.                           )    TRIAL CONFIRMATION ORDER
                                       )
14   CHHOM MAO; THA BUN HENG;          )
     CLEVIE EARL BUCKLEY;              )
15                                     )
                     Defendants.       )
16                                     )
17
18             Trial in the above-captioned case is scheduled to commence
19   on December 5, 2006, at 9:00 a.m.      That date was confirmed at the
20   hearing on November 17, 2006.
21                            I.   EVIDENTIARY DISPUTES
22             All evidentiary disputes capable of being resolved by in
23   limine motions, shall be set forth in such motions no later than 4:30
24   p.m. on November 24, 2006.1     Oppositions to the motions or non-
25   opposition statements shall be filed no later than 4:30 p.m. on
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               The parties are requested to meet and confer about such
     disputes before filing a motion to determine if agreement can be
28   reached on any issue.

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1    November 29, 2006.    Hearing on the motions will commence at 9:00 a.m.
2    on December 1, 2006.    If the parties have other reasonably anticipated
3    disputes concerning the admissibility of evidence, such disputes
4    should be included in their trial briefs.        L.R. 16-285(a)(3).
5                               II.     TRIAL PREPARATION
6              A.    No later than five court days before trial, the
7    following documents should be filed:
8                    (1)    proposed jury instructions;
9                    (2)    proposed voir dire questions to be asked by the
10                          Court;
11                   (3)    trial briefs; and
12                   (4)    a joint statement or joint proposed jury
13                          instruction that can be read to the jury in
14                          advance of voir dire that explains the nature of
15                          the case.
16             If possible, at the time of filing the proposed jury
17   instructions, proposed voir dire questions, and joint statement,
18   counsel shall also deliver to the court a floppy disk compatible with
19   WordPerfect 5.1, 6.1, 8.0, 9.0 or 10 containing a copy of the
20   sanitized jury instructions, the proposed voir dire questions, and the
21   joint statement.
22             B.    The government’s exhibits shall be numbered and
23   eventually marked with stickers provided by the court.          Should the
24   defendant elect to introduce exhibits at trial, such exhibits shall be
25   designated by alphabetical letter with stickers provided by the court.
26   The parties may obtain exhibit stickers by contacting the clerk’s
27   office at (916) 930-4000.
28             C.    The parties estimate the trial will take two weeks.

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1    Each side is granted forty-five minutes for voir dire, which may be
2    used after the judge completes judicial voir dire.             The "struck jury"
3    system will be used to select the jury.2          Two alternate jurors will be
4    empaneled.     The Jury Administrator randomly selects potential jurors
5    and places their names on a list that will be provided to each party
6    in the numerical sequence in which they were randomly selected.               Each
7    juror will be placed in his or her randomly-selected seat.                The first
8    12 jurors on the list will constitute the petit jury unless one or
9    more of those 12 is excused for some reason.           Assuming that the first
10   listed juror is excused, the thirteenth listed juror becomes one of
11   the twelve jurors.
12                IT IS SO ORDERED.
13   Dated:     November 21, 2006
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15                                       GARLAND E. BURRELL, JR.
16                                       United States District Judge

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               As explained in United States v. Blouin, 666 F.2d 796,
     798 (2d Cir. 1981), "the goal of the 'struck jury' system is to
24   whittle down an initially selected group . . . [to the amount of
     jurors] who will serve as the petit jury." The selected group
25   consists of the 12 required to hear the case, the number of
     alternate jurors, plus the number of jurors required to enable
26   the parties to use the combined number of peremptory challenges
     allotted to both sides for striking jurors from the group.
27   Typically extra jurors are included in the select group in the
     event the minimum amount of jurors required for the "struck
28   system" is reduced "for cause" or some other reason.

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